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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                              4:17CR3089

      vs.
                                                           DETENTION ORDER
SHAWNDELL L. BURKE,

                     Defendants.


      Defendant was previously released on conditions. She entered a plea of
guilty today.   At the close of the plea hearing, the court addressed whether
Defendant should remain released given the facts stated in the release status
report filed by pretrial services. (Filing No. 60).

      Defendant was afforded a hearing on the issue. Based on the evidence
presented, the court finds that permitting Defendant to remain in residential
treatment poses a risk of harm to other facility residents, including but not limited
to distracting from and undermining the efforts of St. Monica’s staff members and
residents in promoting the successful completion of drug treatment programming.

      Accordingly,


      IT IS ORDERED:


      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of United States
Court or on request of an attorney for the Government, the person in charge of
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the corrections facility must deliver the defendant to the United States marshal
for a court appearance.


      November 15, 2017.
                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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